Case 1:17-cv-OOl75-.].]I\/|-PAS Document 1 Filed 05/03/17 Page 1 of 20 Page|D #: 29

UNI'I'ED STATES DIS'I'RICT COURT
FOR THE DIS'I'RICT OF RH_ODE ISLAND

COREY C. TABOR, INDIVIDUALLY
and as ADMINISTRATOR OF THE
ESTATE OF BREANNA FOS’I'E.R and
DAVlD G. TAVARES, AS NATURAL
PARENT AND GUARDIAN OF

l ` . 'I

v. C.A. No.:

'I'HE MEMORIAL HOSPI'I`AL

and UNITED STA'I'ES OF AMERICA
Defendants.

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Plainhfs, )
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) |URY TRIAL DEMANDED
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COMPLAINT
|urisdiction

1. This Court has subject-matter jurisdiction over this action, pursuant to
28 US.C. § 1331, because plaintiffs’ causes of action against defendant United States of
America arise under the Federal 'I`ort Claims Act (”FI`CA' , 28 U.S.C. § 1346(b) and §
2671, et seq.

2. This Court has supplemental jurisdiction over all remaining state law
malpractice claims in this action pursuant to 28 U.S.C. § 1367.

3. Venue is proper in that all or a substantial part of the acts and omissions
forming the basis of these claims occurred in the District of Rhode Island.

4. Plaintiffs have fully complied with the provisions of 28 U.S.C. § 2675 of the
Federal Tort Claims Act. Plaintiffs mailed their claims to both the individual clinic (”The

East Bay Community Action Program Health Centex“’) and United States Department of

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Health and Human Services (”DHHS") on Novernber 4, 2016. 'I`he claims were received
for consideration on November 7, 2016 by DHI-IS Office of the General Counsel. See
Attachment No. 1, Canfinnation ofReceipt of FTCA Claims. Plaintiffs’ counsel provided to
DHHS all requested documents By letter dated March 15, 2017 (reoeived by Plaintiffs'
counsel on March 20, 2017), the claims were denied by the DHHS Office of General
Counsel. See Attachment No. 2, Dem'al ofI-`TCA Claims. Thus, this Complalnt is timely Hled
in satisfaction of 28 U.S.C. § 2675(a).
Pa_ffis

5. Plaintiff Corey C. Tabor is a resident of Rhode island and the father of
Breanna Foster, who died on December 30, 2014 at the age of twenty-one (21). Plaintiff
Tabor was appointed Administrator of the Estate of Breanna Foster on ]une 11, 2015, in
the City of Warwicl<, Rhode Island. Plaintiff Tabor brings this civil action individually
and pursuant to the provisions of R.I.G.L. § 10-7-1, et seq. and R.I.G.L. § 9-1-6, 7 in his
capacity as the Administrator of the Estate of Breanna Foster.

6. Plaintiff David G. Tavares is a resident of Rhode Island and the biological
father of L .. 'I L T is the biological minor son David 'I`avares and
the decedent, Breanna Foster. Plaintiff David Tavares brings this civil action in his
capacity as the natural parent and guardian of L 'I

7. Defendant The Memorial Hospiml is a domestic non-profit corporation
existing under the laws of the Swte of Rhode Island, with its principal place of business
located in Pawtucl<et, Rhode Island, Defendant 'I`he Memorial Hospital has at all relevant

times operated and maintained a medical and surgical hospital in Pawtucket, Rhode

Case 1:17-cv-00175-.].]|\/|-PAS Document 1 Filed 05/03/17 Page 3 of 20 Page|D #: 31

Island providing obsteh'ic and surgical medical services

8. Count II of plaintiffs' Compiaint is brought against the United States of
Amerim, pursuant to the Federal Tort Claims Act (28 U.S.C. § 1346(b)), for monetary
damages as compensation for the personal injuries to, and death of, Breanna C. Foster
that were caused by the negligent medical care and evaluation provided to Breanna
Foster by employees of the East Bay Community Action Program I-Iealth Center,
including Dr. Ashley Lakin. and Dr. Heidi Radlinl<si.

9. 'I`he East Bay Community Action Program Health Center, located at 100
Bullocks Point Avenue, East Providence, Rhode Island is considered a community health
center pursuant to the Federally Supported Health Centers Assistance Act of 1992, Public
Law No. 102-501, 42 U.S.C. § 233(g), and this Act’s 1995 amendment, Public Law No. 104-
73.

10. In the year 2014, the East Bay Community Action Program Health Center’s
agents/ employees were considered to be employees of the United States of America for
purposes of the FI`CA.

11. At all times described in paragraphs 13-53, the physiciansf medical
personnel, and/ or other employees of East Bay Community Action Program Health
Center in East Providence, Rhode Island were considered agenls and/or employees of
defendant United States of Arnerica for purposes of the FTCA.

12. In rendering medical services to Breanna Foster, said agents/ employees of
defendant United States of Arnerica acted within the scope of their employment and with

the permission of, and under the control and supervision of, defendant Un.ited Slates of

Case 1:17-cv-00175-.].]|\/|-PAS Document 1 Filed 05/03/17 Page 4 of 20 Page|D #: 32

Ameriea.

13. DHHS has acknowledged that plaintiffs' claims against East Bay
Community Action Program I-lealth Cent)er is subject to the Federal Tort Claims Act. See
Attachment No. I.

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14. During her pregnancy in 2014, Breanna Foster was a patient of the East Bay
Corrununity Action Program Health Center.

15. Ashley M. Lakin, D.O., a physician at the East Bay Community Action
Program Health Center, treated Breanna Foster during her pregnancy and through
December 2014.

16. Dr. Lal<in was, at all relevant times described in paragraphs 13-55, an
employee of East Bay Community Action Program Health Center.

17. Dr. Lakin was, at all relevant times described in paragraphs 13-55,
considered an employee of the United State of America pursuant to the FI`CA.

18. As of December 10, 2014, Foster's estimated delivery date was
December 21, 2014.

19. On December 10, 2014, Dr. Michael Chen-Illamos, a Memoriai Hospital
employee, performed a sterile vaginal exam upon Foster and her cervix as being “closed,
long, high, posterior, soft.”

20. On December 10, 2014, Dr. Lakin also examined Foster. 'I`he plan at that

time was to continue to a natural, vaginal delivery.

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21. On December 16, 2014, Dr. l.akin performed a sterile vaginal exam upon
Foster and it was determined that she was 0.5 centimeters dilated, with 50% effacement,
and the fetal station was negative three. 'I`he delivery plan remained the same.

22 On December 22, 2014, Dr. Lakin examined Foster and the plan at that time
remained the same. A vaginal exam was again done at this time to determine whether
Foster's cervix was ripening for delivery.

23. On December 29, 2014, Foster was again examined by Dr. Lakin. I"ollowing
this examination, Dr. Lakin decided to admit Foster to 'I'he Memorial Hospital for cervical
ripening and labor induction.

24. At or about 5:57 p.rn. on December 29, 2014, Foster was admitted to 'I`he
Memorial Hospital.

25. Dr. T_.akin was recorded as Breanna's attending physician at The Memorial
Hospital on December 29, 2014.

26. Between 6:09 p.m. and 8:07 p.m., Dr. Karl Dietrich ("'Dr. Dietrich”)
performed a sterile vaginal exam on Foster and it was determined that she was 2
ceniimeters dilated, with 70% effaoement, and the fetal station was negative three.

27. In his “Assessment and Plan," Dr_. Dietrich noted ”Bishop's score 2,“
"Misoprostol 25ng intravaginally,” ”If contracting >3 per 10 minutes, will repeat
cervical exam prior to 4 hours,” “If contracting <3 per 10 minutes, will repeat misoprostol
at 4 hours,” and ”Will continue to assess need for pitocin."

23. Dr. Dietrich noted that he discussed Foster's condition at this time with

Dr. Heidi maxima-schneider (“Dr. Radlinski"), M.D.

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29. Dr. Dietrich was an employee of 'I`he Memorial Hospital on December 29,
2014.

30. Dr. Radlinski was an employee of the East Bay Community Acu'on Program
l-Iealth Center on December 29~30, 2014.

31. Dr. Radlinski was, on December 29»30, 2014, considered an employee of the
United State of America pursuant to the FI`CA.

32. At some point during the night of December 29, 2014, Dr. Radlinsl<i became
the attending physician responsible for supervising Foster's labor and delivery.

33. At or about 9:20 p.m_, Foster was administered 25 micrograms of
Misoprostol (Cytobec) intravaginally by Jason I<han, D.O.

34. Dr. ]ason Kahn was an intern as of December 29-30, 2014 and employed by
'I`he Memorial I-iospital.

35. At or about 12:00 a.m. on December 30, 2014, Foster’s contractions were ”2-
6” in "'Frequency (mins).”

36. At or about 2:00 a.m., Foster's contractions were ”3-4” in “Frequency
cmw).”

37. Between 2:05 a.m. and 2:15 a.m., Foster was examined by Dr. Kahn, who
determined that Foster was 3 centimeters dilated, with 80% effacement, and recorded
..hjgh_..

38. After examining Foster, Dr. Kahn spoke with Dr. Radlinski to inform her of

Foster’s vaginal exam and her contraction pattern.

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39. . Dr. Radlinsl<i and Dr. Kahn together agreed to administera second dose of
Misoprostol (Cytotec) intravaginally to I~`oster.

40. At or about 2:15 a.m., Foster was administered a second intravaginal dose
of Misoprostol (Cytotec) by Dr. Kahn.

41. Between 2:15 a.m. and 4:20 a.m., Foster's contraction pattern demonstrated
uterine hyperstimulation.

42. Between 2:15 a.m. and 4:20 a.m. Foster’s fetus developed bradycardia.

43. At 4:20 a.m. Dr. Radlinski was called to attend Foster’s delivery.

44. At or about 4:47 a.rn. Foster vaginally delivered her son, L 'I

45. At 4:48 a.m. Dr. Radlinski arrived in l~`oster's room.

46. At 4:48 a.m. Dr. Katherine ]arrell was also present in Foster's room.

47. At or about 4:52 a.m., Foster exhibited signs of postpartum obstetrical
hemorrhage

48. Foster's hemorrhage was caused by multiple lacerations to her vagina and
cervix.

49. Foster's lacerations were caused by the rapid delivery of her son.

50. At or about 5:55 a.m., blood products were first ordered by Foster’s treating
physicians or staff.

51. At or about 6:15 a.m., Foster received her first transfusion of blood.

52. At or about 6:15 a.m., Dr. Katherine ]arrell ordered fresh frozen plasma and
noted her concern that Foster was suffering from disseminated intravascular coagulation

(ll DICII).

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53. Dr. ]arrell was an employee of The Memorial Hospital on December 29-30,
2014.

54. At or about 9:25 a:m., I-`oster was transferred to the intensive care unit at
'I`he Memorial Hospital in critical condition

55. At or about 4:44 p.m., Foster was transferred to Rhode Island Hospital for
further management

56. At or about 6:00 p.m., Foster was pronounced dead at Rhode Island
Hospital.

57. Foster's death was caused by the multiple lacerations to her vagina and
cervix suffered during the delivery of her son.

Q(MT__I.
Defendant The Memorial Hosgital

58. Paragraphs 1 through 57 are hereby incorporated in this Count I by
reference as if fully set forth at length herein.

59. on or about member 29, 2014 and continuing diseases defendant ne
Memorial Hospital, by and through its agents, servants, and / or employees, including but
not limited to Dr. Dietrich, Dr. Kahn, Dr. ]arrell, and other physicians physicians-in-
training, physician assistants nurses and other health care providers, undertook for
valuable consideration to provide medical, obstetrical, and other health care treatment to
Breanna Foster.

60. As of December 29, 2014, it became and was the duty of defendant The

Memorial Hospital, by and through these agents servants, and/or employeesl to exercise

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that degree of care and diligence in treating Breanna Foster as was ordinarily possessed
of individuals of the same specialty or rendering similar services acting, in the same or
similar circumstances

61. Nevertheless, defendant'l'he Memorial Hospita], by and tl'u'ough its agents
servants and/ or employees failed to exercise that degree of skill and diligence in that it
negligently diagnosed and treated Breanna Foster during her labor and delivery on
December 29-30, 2014 thereby causing hell to become afflicted with severe personal
injuries extreme pain and suffering, and ultimately death on December 30, 2014.

62. As a direct and proximate result of the negligence of the agents servants
and /or employees of defendant The Memorial Hospital, Breanna Foster suffered
personal injury, great pain of body, nerves and nervous system, extreme conscious pain
and suffering, and ultimately death on December 30, 2014. The Administrator of her
Estate claims "survival” damages pursuant to R.l.G.L. § 9-1-6 and § 9-]-7.

63. 'I`he Estate of Breanna Foster also seeks all available damages pursuant to
the Rhode Island Wrongful Death Act R.I.G.L. § 10-7-1 et seq. including § 10-7-1.1, 2, 5, 6
and 7.

64. As a direct and proximate result of the negligence of defendant The
Mernorial Hospital and the resulting injuries and death of Breanna Poster, her legal
beneficiary has suffered pecuniary damages recoverable pursuant to R.I.G.L. § 10-7-1, et
seq.

65. As a direct and proximate result of the negligence of defendant 'I`he

Memorial Hospital, plaintiff Corey C. Tabor, individually, has suffered and will in the

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future suffer a loss of his daughter's society and companionship and claims damages
recoverable pursuant to R.I.G.L. § 10-7-1.2(€).

66. As a direct and proximate result of the negligence of defendant The
Memorial I-lospital and the resulting injuries and death of Breanna Foster, L
'I :, minor child of Breanna Foster, has suffered and will in the future suffer the loss
of his mother's society, love, guidance, and companionship and claims damages pursuant
to R.I.C.L. § 10-7-1.2(b).

WHEREFORE, plaintiffs Corey C. Tabor, individually and as Administrator of the
Estate of Breanna Foster, and David G. Tavares in his capacity as the natural parent and
guardian of L 'I :, minor child of Breanna Foster, demand judgment against
defendant The Memorial Hospital for compensatory damages plus interest and costs.

COUNT ll
Defendant United States of America

67. Paragraphs 1 through 66 are hereby incorporated in this Count ll by
reference as if fully set forth at length herein.

68. On or about ]uly 25, 2013 and thereafter, the East Bay Community Action
Program Health Center, by and through its agentsl servants and/ or employees
including, but not limited to Dr. Radlinski and Dr. Lakin, undertook for valuable
consideration to provide medical, obstetrical, and other health care treatment to Breanna
Foster.

69. It then and there became the duty of East Bay Community Action Program

Health Center, by and through its agents servants and/ or employees to exercise that

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degree of care and diligence in treating Breanna Foster as was ordinarily possessed of
individuals of the same specialty or rendering similar services acting, in the same or
similar circumstances

70. Nevertheless East Bay Corrununity fiction Program Health Center, by and
through its agents servants and/ or employees failed to exercise that degree of skill and
diligence in that it negligently diagnosed and heated Breanna Foster during her labor
and delivery on December 29-30, 2014 thereby causing her to become afflicted with severe
personal injuries extreme pain and suffering and ultimately death on December 30, 2014.

71. As a direct and proximate result of the negligence of the agents servants
and/or employees of East Bay Community Action Program Health Center, Breanna
Foster suffered personal injury, great pain of body, nerves and nervous system, extreme
conscious pain and suffering and ultimately death on December 30, 2014, 'I`he
Adrninistrator of her Estate claims "survival” damages pursuant to R.I.G.L. § 9-1-6 and
§ 9-1-7.

72. The Estate of Breanna Foster also seeks all available damages pursuant to
the Rhode Island Wrongfui Death Act R.I.G.L. § 10-7-1 et seq. including § 10-7-1.1, 2, 5, 6
and 7.

73. As a direct and proximate result of the negligence of East Bay Community
Act:ion Program Health Center, by and through its agents servants and/ or employees
and the resulting injuries and death of Breanna Foster, her legal beneficiaries have

suffered pecuniary damages recoverable pursuant to R.I.G.l_.. § 10-7-1, et seq.

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74. As a direct and proximate result of the negligence of East Bay Community
Action Program Health Center, by and through its agents servants and/ or employeesl
plaintiff Corey C. Tabor, individually, has suffered and will in the future suffer a loss of
his daugth society and companiorship and claims damages recoverable pursuant to
R.I.G.L. § 10-7-1.2(c).

75. As a direct and proximate result of the negligence of East Bay Community
Action Program Health Center, by and through its agents servantsl and/ or employees
and the resulting injuries and death of Breanna Foster, L 'I a, minor child of
Breanna Foster, has suffered and will in the future suffer the loss of his mothers society
and companionship and claims damages pursuant to R.I.G.L. § 10-7-1.2(b).

76. The United States of America is liable for the negligent actions of East Bay
Community Action Program Health Cenber and its agents servants and employees

WHEREFORE, plaintiffs Corey C. Tabor, individually and as Administrator of the
Estate of Breanna Foster, and David G. 'I`avares in his capacity as the natural parent and
guardian of L . 'I ;, minor child of Breanna Foster, demand judgment against
defendant United States of America for compensatory damages plus interest and costs.

Demand for |m'l`rial

Plaintiff demands a trial by jury and designates Michael P. Quinn, ]r., Esq. as lead
trial counsel pursuant to LR Gen 206(d).

Plaintiffs also designate, pursuant to LR Gen 206(c)(1), Attorney Quinn as counsel

to whom notice from the court should be sent.

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PLAINTIFFS,

COREY C. TABOR, As Administrator of
The Estate of Breanna Foster;

COREY C. TABOR, Individually; and
DAVID G. TAVARES, as Natural Parent
And Guardian of L 'I

By their Attorneys

Decof, Decof & Barry

One Srnith Hill

Providence, Rl 02903

Telephone: (401) 272-1110

Facsimile: (401) 351-6641

Email: _n_}p_q@decof.com; tig@decof.com

/s/ Michael P. Quln, ]r.
Michael P. Quinn, Esq. Bar No. 7514
Timothy ]. Grimes, Esq. Bar No. 8820

Dated: May 3, 2017

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ATTACHMENT 1

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DEPARTMENT OF HEALTH & HUMAN SERVlCES effie ofm¢Ge¢m-al Counsel
Gench Law Division, CELB
330 C Sdeet, S.\V.
Switzcr Building, Suiv.-. 2600
Wahing\on, D.C. 20201

November 14, 2016

Michael P. Quinn, Jr., Esquire
DECOF, DECOF & BARRY

One Smith Hill

Providence, Rhode Island 02903

RE: L T. , a minor and son of Breanna Foster,
by and through his natural father, David G. Tavares
RE: 2017-0095

Cory C. Tabor, natural father of Breanna Foster
RE. 2017-0096

o

The Estate of Breanna Foster, by and through Cory C.
Tabor, the Estate Representative RE: 2017-0097

Dear Mr. Ouinn:

This will acknowledge receipt of your clients' claims (3) relating
to the wrongful death of Breanna Foster on December 30, 2014, which
resulted from negligent medical care provided by alleged employees
of the East Bay Community Action Program Health Center, in
Providence, Rhode Island, before and following the birth of her
son, L . T. . Your clients' claims, as well as medical
records, were received in this office on November 7, 2016, for
consideration and reply.

The Federally Supported Health Centers Assistance Act of 1992,
Public Law No. 102-501, 42 U.S.C. § 233(g)(k), and the amended
Federally Supported Health Centers Assistance Act of 1995, Public
Law No. 104-73, 42 U.S.C. § 201, provides that the Federal Tort
Claims Act is the exclusive remedy for injuries, including death,
caused by l ees of a Communi Heal Center which
occurred on or about January 1, 1993, or when the Health Center was
deemed eligible for ooverage.

In order to properly evaluate your clients' claims for damages,
please forward the following substantiating evidence, directly to
the address above:

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_.2_
1) One copy of all medical and funeral bills;
21 Evidence of the appointment of the Administrator or

the Executor of the Estate;

31 Evidence substantiating any economic loss claimed
as damages;

4} Full names, addresses, birth dates, kinship, and
marital status of the decedent's survivors, including
identification of those survivors who were dependent
for support upon the decedent at the time of her
death;

5] Degree of support afforded by the decedent to
each survivor dependent upon her for support
at the time of her death;

61 Any other evidence or information which may
have a bearing on the Health Center and/or the
employee{s) involved for the death claimed;

*As all mail delivered to federal government buildings is x-

rayed/radiated, and g§g_§g_ggggggg during the process, please
forward all evidence via FedEx, UPS or DHL, most importantly, €D's.

Upon receipt of the requested evidence, we will proceed with our
investigation into this matter. A medical review will be performed
to assess the merits of your clients' claims. When the review
process has been completed, you will be notified in writinq.

 

 

H r she l a six month s t te ira before the c letion
of the medical review u ma consider th ' s iad
and file i a ri District Court 45 C.F.R.
35.2{b1 and 28 U.S.C. § 2675(§Ll

PLEASE BE ADVIBED THAT SMS ION ON THIS OFFI
IS UNAVAI IL AFTER HE SIX STATUTE IRED.

Yours truly,

say J@l

Linda A. Vincent
Paralegal Specialist
Claims Office

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ATTACHMENT 2

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./ DEPARTMENT OF HEALTH & HUMAN SERVICES omce or ms umw couNsm.
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liAR 1 5 2017
Michael P. Quinn, Jr., Bsquire
Decof, Decof & Barry
One Smith Hill
Providence, Rhode Island 02903
RE: Administrative tort claims: L T. , a minor and son of
Breanna Foster, by and through his natural father, David G.
Tavares 2017- 0095

Cory C. Tabor, natural father of Breanna Foster 2017-0096

The Estate of Breanna Foster, by and through Cory C. Tabor,
the Bstate Representative 2017-0097

Dear Mr. Quinn:

On November 7,2016, you filed three administrative tort claims under the
Federal Tort Claims Act (“FTCA"), 28 U.S.C. § 1346(b), 2401(b), 2671-2680,
on behalf of your clients, David G. Tavares and Cory C. Tabor, alleging,
inter alia, that, Breanna Foster received negligent medical care by
employees at the East Bay Community Action Program Health Center, in
Providence, Rhode Island, before and following the birth of her son, L

Tl , resulting in her death on December 30, 2014.

The FTCA authorizes the settlement of any claim of money damages against
`the United States for, inter alia, injury or death caused by the

negligent, or wrongful, act or omission of any employee of the Federal
Government, while acting within the scope of employment. Under the FTCA,
said act or omission must be such that the united States, if a private
person, would be liable to the claimant in accordance with the law of the
place where the act or omission occurred. 28 U.S.C. § 2672. '

This letter constitutes the notice of final determination on these claima,-
as required by 28 U.S.C. 95 2401(b),2675(a). Your clienta' administrative
tort claims are denied. The evidence fails to establish that the death of
Breanna Fbster was due to the negligent or wrongful act or omission of a
federal employee acting within the scope of employment.

If your clients are dissatisfied with this determination, they mays

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Michael P. Quinn, Jr., Esquire
2017-0095, 0096 s 009?
Page 2

1. file a written request with the agency for reconsideration of the
final determination denying the claims within six (6) months from
the date of mailing of this determination (28 C.F.R. § 14.9); or

2. file suit against the United States in the appropriate federal
district court within six [6} months from the date of mailing of
this determination {28 U.S.C. § 240l{b)}.

In the event your clients request reconsideration, the agency will review
the claims within six {6) months from the date the request is received.
If the reconsidered claims are denied, your clients may file suit within
six (6) months from the date cf mailing of the final determination.

Sincerely,

Mam»o d G‘?’é’*"‘/H

William A. Biglow
Deputy Associate General Ccunsel
Claims and Emplcyment Law Branch

